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Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x

In re                                                          :                 Chapter 11

HOLLANDER SLEEP PRODUCTS, LLC, et al.,1:                                         Case No. 19-11608 (MEW)

                                                                                (Jointly Administered)
                  Debtors.
                                                               •x

      SUPPLEMENTAL DECLARATION OF E. PATRICK SHEA IN SUPPORT
     OF APPLICATION PURSUANT TO SECTIONS 1103(a) AND 328(a) OF THE
  BANKRUPTCY CODE, RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY
  PROCEDURE, AND LOCAL BANKRUPTCY RULE 2014-1 FOR AUTHORIZATION
 TO EMPLOY AND RETAIN GOWLING WLG AS CANADIAN COUNSEL FOR THE
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS EFFECTIVE JUNE 13,2019

                 I, E. Patrick Shea, LSM, declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746, and Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 2014-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Bankruptcy Rules”), that the following is true and correct:



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Dream II Holdings, LLC (7915); Hollander Home Fashions Holdings, LLC (2063); Hollander Sleep
Products, LLC (2143); Pacific Coast Feather, LLC (1445); Hollander Sleep Products Kentucky, LLC (4119); Pacific
Coast Feather Cushion, LLC (3119); and Hollander Sleep Products Canada Limited (3477). The location of the
Debtors’ service address is: 901 Yamato Road, Suite 250, Boca Raton, Florida 33431.
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                   1.         I am a partner with the law firm of Gowling WLG (“Gowling” or the

“Firm”), with offices located at 1 First Canadian Place, 100 King Street West, Suite 1600,

Toronto, Ontario, M5X 1G5, Canada. I am duly admitted to practice law in Ontario, Canada.

                   2.         Iam authorized to submit this supplemental declaration (the

“Supplemental Declaration”') in support of the Application Pursuant to Sections 1103(a) and

328(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules ofBankruptcy Procedure, and

Local Rule 2014-1 for Authorization to Employ and Retain Gowling WLG as Canadian Counsel

for the Official Committee of Unsecured Creditors Effective June 13, 2019 filed on July 9, 2019

[Docket No. 198] (the “Application”').

         3.        The hourly rates set forth in the Application are subject to periodic adjustments to

reflect economic and other conditions. Gowling intends to provide ten (10) business days’ notice

to the Debtors, the Committee, and the U.S. Trustee before implementing any increases in

Gowling’s rates for professionals working on these chapter 11 cases.

         4.        Gowling provides the following responses to the questions set forth in Part D of

the Appendix B Guidelines for Reviewing Applications for Compensation and Reimbursement

of Expenses Filed Under United States Code by Attorneys in Larger Chapter 11 Cases (the

“Revised UST Guidelines”') :

  Questions Required by Part Answer:                                       Further explanation:
  DI of Revised UST
  Guidelines:
  Did you agree to any             No.                                     N/A
  variations from, or alternatives
  to, your standard or customary
  billing arrangements for this
  engagement?
  Do any of the professionals      No.                                     N/A
  included in this engagement


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   Questions Required by Part Answer:                                      Further explanation:
   DI of Revised UST
   Guidelines:
   vary their rate based on the
   geographic location of the
   bankruptcy case?
   If you represented the client in N/A                                    N/A
   the 12 months prepetition,
   disclose your billing rates and
   material financial terms for the
   prepetition engagement,
   including any adjustments
   during the 12 months
   prepetition. If your billing
   rates and material financial
   terms have changed
   postpetition, explain the
   difference and reasons for the
   difference.
   Has your client approved your N/A                                       Gowling’s budget will be included
   respective budget and staffing                                          in the budget for Committee
   plan, and, if so, for what                                              professionals as governed by the
   budget period?                                                          terms of the final order entered in
                                                                           these cases approving DIP
                                                                           financing. [See Docket No. 231 ]



                  5.         Gowling intends to make a reasonable effort to comply with the UST’s

requests for information and additional disclosures as set forth in the Revised UST Guidelines,

both in connection with the Application and the interim and final fee applications to be filed by

Gowling in these chapter 11 cases.

                  6.         At the request of the UST, a revised proposed form of order is attached

hereto as Exhibit A to add paragraph 6.

                                 [remainder ofpage intentionally left blank]




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is true and correct.


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                                          EXHIBIT A

                                        (Proposed Order)




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                               ■x

In re                                                          :                 Chapter 11

HOLLANDER SLEEP PRODUCTS, LLC, et al.,1’.                                        Case No. 19-11608 (MEW)

                                                                                 (Jointly Administered)
                  Debtors.                                      :
                  --------------------------------------------- x

                ORDER APPROVING AND AUTHORIZING
   THE RETENTION OF GOWLING WLG AS CANADIAN COUNSEL FOR THE
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS EFFECTIVE JUNE 13,2019

                  Upon the Application Pursuant to Sections 1103(a) and 328(a) of the Bankruptcy

Code, Rule 2014 of the Federal Rules ofBankruptcy Procedure, and Local Bankruptcy Rule

2014 for Authorization to Employ and Retain Cowling WLG as Canadian Counselfor the

Official Committee of unsecured Creditors Effective June 13, 2019 (the “Application”).2 and

upon the Declaration of E. Patrick Shea filed in support of the Application, and the Court having

jurisdiction to consider the Application and the relief requested therein pursuant to 28 U.S.C.

§§ 157 and 1334; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that

the relief requested in the Application is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and it appearing that no other or further notice need be




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Dream II Holdings, LLC (7915); Hollander Home Fashions Holdings, LLC (2063); Hollander Sleep
Products, LLC (2143); Pacific Coast Feather, LLC (1445); Hollander Sleep Products Kentucky, LLC (4119); Pacific
Coast Feather Cushion, LLC (3119); and Hollander Sleep Products Canada Limited (3477). The location of the
Debtors’ service address is: 901 Yamato Road, Suite 250, Boca Raton, Florida 33431.
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Application.


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provided; and no objections to the Application having been filed; and after due deliberation and

sufficient cause appearing therefor,

                  IT IS HEREBY ORDERED THAT:

         1.       The Application is GRANTED.

         2.       The Committee is hereby authorized to retain and employ Gowling WLG

(“Gowling”) pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code, Bankruptcy Rule

2014, and Local Bankruptcy Rule 2014-1, effective as of June 13,2019.

         3.       Gowling shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ cases in compliance with

the applicable provisions of the Bankruptcy Code, including section 330 of the Bankruptcy

Code, the Bankruptcy Rules, and any applicable procedures and orders of this Court.

         4.       Gowling is authorized to render professional services to the Committee as

described in the Application.

         5.       The Committee will make reasonable efforts to avoid having Gowling perform

work that is duplicative of work being performed by other professionals retained by the

Committee.
     6.           Before implementing any increases in Gowling’s rates for professionals working

on these cases, Gowling shall provide ten (10) business days’ notice to the Debtors, the

Committee, and the U.S. Trustee. The U.S. Trustee retains all rights to object to any rate

increases on all grounds including, but not limited to, the reasonableness standard provided for in

section 330 of the Bankruptcy Code, and the Court retains the right to review any rate increase

pursuant to section 330 of the Bankruptcy Code.



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         1.       The Committee and Gowling are authorized and empowered to take all actions

necessary to implement the relief granted in this Order.

         8.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         9.       This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated:                       , 2019
                                               THE HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE


Approved as to Form



Office of the United States Trustee
Shannon Scott




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